             Case 2:19-bk-52066-MPP                       Doc 1 Filed 10/04/19 Entered 10/04/19 14:10:53                               Desc
                                                          Main Document    Page 1 of 20
 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

        Eastern District Of Tennessee
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                              
                                                              X   Chapter 7
                                                                 Chapter 11
                                                                 Chapter 12
                                                                 Chapter 13                                                Check if this is an
                                                                                                                               amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                           12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Jane
                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name
       identification (for example,
       your driver’s license or         Seward
                                        __________________________________________________            __________________________________________________
       passport).                       Middle name                                                   Middle name

       Bring your picture               Street
                                        __________________________________________________            __________________________________________________
       identification to your meeting   Last name                                                     Last name
       with the trustee.                ___________________________                                   ___________________________
                                        Suffix (Sr., Jr., II, III)                                    Suffix (Sr., Jr., II, III)




2.    All other names you               __________________________________________________            __________________________________________________
      have used in the last 8           First name                                                    First name
      years
                                        __________________________________________________            __________________________________________________
       Include your married or          Middle name                                                   Middle name
       maiden names.                    __________________________________________________            __________________________________________________
                                        Last name                                                     Last name

                                        __________________________________________________            __________________________________________________
                                        First name                                                    First name

                                        __________________________________________________            __________________________________________________
                                        Middle name                                                   Middle name
                                        __________________________________________________            __________________________________________________
                                        Last name                                                     Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                       2 ____
                                                           7 ____
                                                               6 ____
                                                                  0                                  xxx    – xx – ____ ____ ____ ____
      number or federal                 OR                                                           OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                              9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Jane Seward Street
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                         
                                           X I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               _________________________________________________            _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           2806 Oakcliff Court
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Johnson City                    TN      37601
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           WASHINGTON
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                           
                                           X Over the last 180 days before filing this petition,         Over the last 180 days before filing this petition,
                                              I have lived in this district longer than in any             I have lived in this district longer than in any
                                              other district.                                              other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                              (See 28 U.S.C. § 1408.)                                      (See 28 U.S.C. § 1408.)
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________
                                              ________________________________________                     ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Jane Seward Street
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7
                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee              I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                           
                                           X I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                     
                                           X No.     Go to line 12.
      residence?                            Yes.    Has your landlord obtained an eviction judgment against you?

                                                        No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Jane Seward Street
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                 
                                                X No. Go to Part 4.
      of any full- or part-time
      business?                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                                  _______________________________________________          _______      __________________________
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                            None of the above


13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No
      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Jane Seward Street
                _______________________________________________________                                   Case number (if known)_____________________________________
                First Name     Middle Name             Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                    About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                You must check one:
      counseling.
                                             
                                             X I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
      receive a briefing about credit           certificate of completion.                                         certificate of completion.
      counseling before you file for
                                                Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                     I received a briefing from an approved credit
                                                counseling agency within the 180 days before I                     counseling agency within the 180 days before I
      eligible to file.                         filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                certificate of completion.                                         certificate of completion.
      If you file anyway, the court
                                                Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                plan, if any.                                                      plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                      I certify that I asked for credit counseling
      again.                                    services from an approved agency, but was                          services from an approved agency, but was
                                                unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                days after I made my request, and exigent                          days after I made my request, and exigent
                                                circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                of the requirement.                                                of the requirement.
                                                To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                required you to file this case.                                    required you to file this case.
                                                Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                You must file a certificate from the approved                      You must file a certificate from the approved
                                                agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                may be dismissed.                                                  may be dismissed.
                                                Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                days.                                                              days.

                                              I am not required to receive a briefing about                     I am not required to receive a briefing about
                                                credit counseling because of:                                      credit counseling because of:

                                                 Incapacity.      I have a mental illness or a mental              Incapacity.      I have a mental illness or a mental
                                                                   deficiency that makes me                                           deficiency that makes me
                                                                   incapable of realizing or making                                   incapable of realizing or making
                                                                   rational decisions about finances.                                 rational decisions about finances.
                                                 Disability.      My physical disability causes me                 Disability.      My physical disability causes me
                                                                   to be unable to participate in a                                   to be unable to participate in a
                                                                   briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                   through the internet, even after I                                 through the internet, even after I
                                                                   reasonably tried to do so.                                         reasonably tried to do so.
                                                 Active duty.     I am currently on active military                Active duty.     I am currently on active military
                                                                   duty in a military combat zone.                                    duty in a military combat zone.
                                                If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




  Official Form 101                                   Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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Debtor 1       Jane Seward Street
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                   No. Go to line 16b.
                                                
                                                X   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                   Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after X Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is             administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                        No
      administrative expenses
      are paid that funds will be         Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                 1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                
                                           X 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                            
                                           X $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                           
                                           X $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                            s/Jane Seward Street
                                              ______________________________________________               _____________________________
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          10/04/2019
                                              Executed on _________________                                    Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Jane Seward Street
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        s/Margaret
                                         _________________________________
                                                    B. Fugate                                               Date           _________________
                                                                                                                           10/04/2019
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Margaret B. Fugate
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Anderson & Fugate
                                           _________________________________________________________________________________________________
                                           Firm name

                                           111 West Fairview Avenue, #2
                                           _________________________________________________________________________________________________
                                           Number     Street

                                           _________________________________________________________________________________________________

                                           Johnson City
                                           ______________________________________________________ TN
                                                                                                  ____________ 37604
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (423) 928-6561
                                           Contact phone _____________________________________             Email address   mfugate@afglaw.com
                                                                                                                           ______________________________




                                           006656                                                 TN
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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                               Ad Astra Recovery Services
                               7330 W. 33rd Street
                               Wichita,KS 67205

Dothins




                               Advance Financial
                               2920 N. Roan Street
                               Johnson City,TN 37601

Dothins




                               Alltran Financial, LP
                               200 14th Avenue, East
                               Sartell,MN 56377

Dothins




                               American Express
                               P.O. Box 981537
                               El Paso,TX 79998

Dothins




                               Arrow Credit
                               P.O. Box 1145
                               Mission,SD 57555

Dothins




                               Aspire
                               P.O. Box 105555
                               Atlanta,GA 30348-5555

Dothins




                               Associated Oral & Implant
                               508 Princeton Road
                               Suite 204
                               Johnson City,TN 37601

Dothins




                               Ballad Health
                               105 West Stone Drive
                               Suite 6A
                               Kingsport,TN 37660-8526

Dothins




                               Bank of America
                               P.O. Box 982238
                               El Paso,TX 79998-2235

Dothins
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                               Beneficial
                               c/o Valentine & Kebartas
                               15 Union Street, #202
                               Lawrence,MA 01840

Dothins




                               Bloomingdales
                               1000 Third Avenue
                               New York,NY 10022

Dothins




                               Bright Star Cash
                               P.O. Box 502
                               Lac-Du-Flambeau,WI 54538

Dothins




                               CACH,LLC
                               4340 S. Monaco Street
                               Unit 2
                               Denver,CO 80237

Dothins




                               Calvary Portfolio
                               500 Summit Lake Drive
                               Valhalla,NY 10595

Dothins




                               Capital One
                               P.O. Box 30285
                               Salt Lake City,UT 84130

Dothins




                               Cash 1
                               2137 Volunteer Parkway
                               #3
                               Bristol,TN 37620

Dothins




                               Cash Company
                               2122 N. Roan Street
                               Suite 5
                               Johnson City,TN 37601

Dothins




                               Cash Express
                               711 W. Market Street
                               Johnson City,TN 37604

Dothins
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                               Cash Net
                               P.O. Box 206739
                               Dallas,TX 75320

Dothins




                               Cash Net USA
                               175 West Jackson
                               Suite 1000
                               Chicago,IL 60604

Dothins




                               Cash Now Advance
                               305 W. Oakland Avenue, Suite 120
                               Johnson City,TN 37604

Dothins




                               Central Portfolio Control
                               10249 Yellow Circle Dr.
                               Suite 200
                               Minnetonka,MN 55343

Dothins




                               Charles C. Dawson, Jr.
                               Attorney at Law
                               P.O. Box 710
                               Trussville,AL 35173

Dothins




                               Chase Card Services
                               P.O. Box 15298
                               Wilmington,DE 19850

Dothins




                               Check Into Cash
                               2244 N. Roan Street
                               Suite 101
                               Johnson City,TN 37601

Dothins




                               Citicards/CBNA
                               P.O. Box 6041
                               Sioux Falls,SD 57117

Dothins




                               CKS Financial
                               P.O. Box 2856
                               Chesapeake,VA 23327

Dothins
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                               Client Services Inc.
                               3451 Harry Truman Blvd
                               St. Charles,MI 63301

Dothins




                               Comenity Bank/Express
                               P.O. Box 182789
                               Columbus,OH 43218

Dothins




                               Comenity Bank/Pier One
                               P.O. Box 182789
                               Columbus,OH 43218

Dothins




                               Comenity Bank/Talbotts
                               P.O. Box 182789
                               Columbus,OH 43218

Dothins




                               Comenity Bank/Victoria Secret
                               P.O. Box 182789
                               Columbus,OH 43218

Dothins




                               Credit Bureau Collections
                               P.O. Box 5067
                               Kingsport,TN 37663

Dothins




                               Credit Central
                               700 W. Market Street
                               Suite 1
                               Johnson City,TN 37604

Dothins




                               Credit Central LLC
                               700 W North Street, Ste 15
                               Greenville,SC 29601

Dothins




                               Credit Collections
                               725 Canton Street
                               Norwood,MA 02062

Dothins
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                               Credit Control, LLC
                               P.O. Box 31179
                               Tampa,FL 33631

Dothins




                               Dell Financial Services
                               P.O. Box 81577
                               Austin,TX 78708

Dothins




                               Dr. Pike
                               Johnson City Smiles
                               2800 Peoples Street, #90
                               Johnson City,TN 37604

Dothins




                               Drs. Ellis & Mefford
                               2674 People Street
                               Suite 40
                               Johnson City,TN 37604

Dothins




                               Dynamic Recovery Solutions
                               135 Interstate Blvd.
                               Greenville,SC 29615

Dothins




                               Easy Money
                               2221 N. Roan Street
                               Suite 1
                               Johnson City,TN 37604

Dothins




                               First Premier Bank
                               P.O. Box 5524
                               Sioux Falls,SD 57117

Dothins




                               Gasteiger Plumbing
                               1315 E. Oakland Avenue
                               Johnson City,TN 37601

Dothins




                               Genesis Card Services
                               P.O. Box 4477
                               Beaverton,OR 97076

Dothins
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                               Great Plains Lending
                               3910 W. 6th Avenue
                               Stillwater,OK 74074

Dothins




                               Green Pine Lending
                               3051 Sand Lake Road
                               Crandon,WI 54520

Dothins




                               Healthcare Receivables Group
                               P.O. Box 10168
                               Knoxville,TN 37939

Dothins




                               Internal Revenue Services
                               P.O. Box 7346
                               Philadelphia,PA 19101

Dothins




                               Jefferson Capital Systems
                               16 McLeland Road
                               St. Cloud,MN 56303

Dothins




                               Johnson City Country Club
                               1901 E. Unaka Avenue
                               Johnson City,TN 37601

Dothins




                               Johnson City Eye Clinic
                               110 Med Tech Parkway
                               Suite 1
                               Johnson City,TN 37604

Dothins




                               Johnson City Heating & Air
                               109 Industrial Road
                               Suite 1
                               Johnson City,TN 37615

Dothins




                               Kimberly C. Swafford, Asst. U.S. Trustee
                               11 31 E. 11th Street, 4th Floor
                               Chattanooga,TN 37402

Dothins
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                               Lloyd & McDaniel
                               P.O. Box 23200
                               Louisville,KY 40223

Dothins




                               LVNV Funding, LLC
                               P.O. Box 1269
                               Greenville,SC 29603

Dothins




                               Macy's
                               7 W. 7th Street
                               Cincinnati,OH 45202

Dothins




                               Merrick Bank
                               P.O. Box 9207
                               Old Bethpage,NY 11804

Dothins




                               Midland Credit Management, Inc.
                               2365 Northside Drive, Suite 300
                               San Diego,CA 92108

Dothins




                               Mobile Loans
                               4988 Bay Street
                               Emeryville,CA 94608

Dothins




                               Mountain Empire Radiology
                               P.O. Box 5187
                               Kingsport,TN 37663

Dothins




                               National Credit Adjusters
                               P.O. Box 3023
                               Hutchinson,KS 67504

Dothins




                               Nationwide Credit
                               P.O. Box 14581
                               Des Moines,IA 50306

Dothins
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                               NCB Management/Rise Credit
                               8653 Baypine Road
                               #110
                               Jacksonville,FL 32256

Dothins




                               Oldham Travel
                               206 Princeton Road
                               #41
                               Johnson City,TN 37601

Dothins




                               Phillips & Cohen Associates
                               1002 Justison Street
                               Wilmington,DE 19801-5148

Dothins




                               Portfolio Recovery
                               P.O. Box 41067
                               Norfolk,VA 23541

Dothins




                               Princeton Drug
                               105 Broyles Drive
                               Johnson City,TN 37604

Dothins




                               Publishers Clearinghouse
                               c/o Penn Credit
                               P.O. Box 69703
                               Harrisburg,PA 17106

Dothins




                               Quest Diagnostics
                               1321 Sunset Drive
                               Suite A21
                               Johnson City,TN 37604

Dothins




                               Quick Credit
                               3101 W. Market Street
                               #112
                               Johnson City,TN 37604

Dothins




                               Regional Finance
                               3014 Bristol Highway
                               Suite 3
                               Johnson City,TN 37601

Dothins
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                               Republic Finance, LLC
                               1914 North Roan Street, Ste. 106
                               Johnson City,TN 37601

Dothins




                               Rogers Wildlife Control
                               1188 Reedy Creek Road
                               Bristol,TN 37620

Dothins




                               Rubin Lublin TN PLLC
                               119 S Main St., Suite 500
                               Memphis,TN 38103

Dothins




                               Rushmore Service Center
                               P.O. Box 5508
                               Sioux Falls,SD 57117

Dothins




                               Security Finance
                               1012 W. Market Street
                               Suite 3
                               Johnson City,TN 37604

Dothins




                               Service Loan & Tax
                               1703 W. Market Street
                               Johnson City,TN 37604

Dothins




                               Service Loan Company
                               P.O. Box 2935
                               Gainesville,GA 30503

Dothins




                               ServPro
                               5351 Fort Henry Drive
                               Kingsport,TN 37663

Dothins




                               Social Security Administration
                               1200 Rev. Abraham Woods, Jr. Blvd.
                               Birmingham,AL 35285

Dothins
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                               Solstas Lab Partners
                               P.O. Box 740032
                               Cincinnati,OH 45274

Dothins




                               Speedy Cash
                               Attn: Bankruptcy
                               P.O. Box 780408
                               Wichita,KS 67278

Dothins




                               State Farm
                               P.O. Box 44110
                               Jacksonville,FL 32231

Dothins




                               State of Franklin Healthcare
                               P.O. Box 3889
                               Johnson City,TN 37602-3889

Dothins




                               Synchrony Bank/AEO
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Synchrony Bank/Belk
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Synchrony Bank/GAP
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Synchrony Bank/JC Penney
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Synchrony Bank/Lowes
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins
          Case 2:19-bk-52066-MPP    Doc 1 Filed 10/04/19 Entered 10/04/19 14:10:53   Desc
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                               Synchrony Bank/Saks
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Synchrony Bank/TJ Maxx
                               Attn: Bankruptcy
                               P.O. Box 965060
                               Orlando,FL 32896

Dothins




                               Tall Grass Financial
                               P.O. Box648
                               Santa Ysabel,CA 92070

Dothins




                               TD Bank USA/Target Credit
                               P.O. Box 1470
                               Minneapolis,MN 55440

Dothins




                               Tennessee Title Loans
                               601 W. Market Street
                               Johnson City,TN 37604

Dothins




                               Terry Canady, Esquire
                               223 Madison Street
                               #205
                               Madison,TN 37115

Dothins




                               Total Card
                               2700 S. Lorraine Place
                               Sioux Falls,SD 57106

Dothins




                               U.S. Attorney
                               800 Market Street, Suite 211
                               Knoxville,TN 37901

Dothins




                               U.S. Department of Education
                               P.O. Box 5609
                               Greeneville,TX 75403

Dothins
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                               U.S. Dept. of Education
                               50 United Nations Plaza
                               Mailbox 1200, Suite 1273
                               San Francisco,CA 94102

Dothins




                               World Finance
                               1012 W. Market Street
                               Johnson City,TN 37604

Dothins




                               World Finance Corp.
                               P.O. Box 6429
                               Greenville,SC 29606

Dothins
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                                                 UNITED STATES BANKRUPTCY COURT
                                                         Eastern District of Tennessee


In re:                                                                                               Case No.
         Jane Seward Street
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:     October 4, 2019                                           Signed:   s/Jane Seward Street




         Dated:                                                               Signed:



                    s/Margaret B. Fugate
                    Margaret B. Fugate
                    Attorney for Debtor(s)
                    Bar no.: 006656
                    111 West Fairview Avenue, #2
                    Johnson City, Tennessee 37604
                    Telephone No: (423) 928-6561
                    Fax No: (423) 928-8437

                    E-mail address:
                    mfugate@afglaw.com
